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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MARYLAND
                                  BALTIMORE DIVISION

IN RE:                                           BCN#: 17-26402
MARK GARY KOLSUN FDBA
MARKRISS ENTERPRISES, LLC FDBA                   Chapter: 7
MARKRISS ENTERPRISES NJ, LLC
        Debtor
NATIONSTAR MORTGAGE LLC
D/B/A MR. COOPER
and its assignees and/or                         MOTION FOR ORDER GRANTING RELIEF
successors in interest,                          FROM AUTOMATIC STAY
        Movant/Secured Creditor,
v.
MARK GARY KOLSUN FDBA
MARKRISS ENTERPRISES, LLC FDBA
MARKRISS ENTERPRISES NJ, LLC
        Debtor
and
CHARLES R. GOLDSTEIN, PROTIVITI INC.
        Trustee
        Respondents


       COMES NOW, Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or

successors in interest, (Movant herein), by Counsel, alleges as follows:

       1.        This Court has Jurisdiction over this proceeding pursuant to 28 U.S.C.

Sections 157 and 1334 and 11 U.S.C. 362; Federal Rule of Bankruptcy Procedure

9014; and Local Bankruptcy Rule 4001-1(a), and that this matter is a core proceeding.

       2.        The above named Debtor(s) filed a Chapter 7 Petition in Bankruptcy with

this Court on December 6, 2017.

       3.        The Movant is the current payee of a promissory note secured by a

Mortgage upon a parcel of real property with the address of 1607 Kenhorst Boulevard,

Shillington, PA 19607-2121 and more particularly described in the Mortgage dated

September 11, 2008 and recorded at Book 05425 at Page 1051, among the land

records of the County of Berks, Maryland:



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       Land situated in the Borough of Kenhorst in the County of Berks in the State
       of PA

       ALL THAT CERTAIN LOT OR PIECE OF GROUND, TOGETHER WITH THE
       ½ STORY BRICK BUNGALOW TYPE DWELLING HOUSE THEREON
       ERECTED, BEING KNOWN AS HOUSE NO. 1607 KENHORST
       BOULEVARD, IN THE BOROUGH OF KENHORST, COUNTY OF BERKS
       AND STATE OF PENNSYLVANIA, SAID LOT OR PIECE OF GROUND
       BEING FURTHER KNOWN AS THE NORTHERN 30 FEET OF LOT NO. 225
       AND THE SOUTHERN 20 FEET OF LOT NO. 226, AS SHOWN ON MAP OR
       PLAN OF "RIDGE PARK ADDITION'', SECTION NO. 2, WHICH SAID MAP
       OR PLAN IS RECORDED IN THE RECORDER'S OFFICE OF BERKS
       COUNTY, IN PLAN BOOK VOL. 8, PAGE 4.

       Commonly known as: 1607 Kenhorst Boulevard, Shillington, PA 19607

       Copies of the Note and Mortgage are attached hereto, marked as exhibits A and

B and made a part hereof by reference.

       4.        This Movant is informed and believes, and based upon such information

and belief, alleges that title to the subject Property is currently vested in the name of the

Debtor(s).

       5.        The Debtor intends to surrender the subject property according to the

Statement of intent filed with this Court on December 6, 2017.

       6.        As of December 8, 2017, the estimated outstanding obligations are:

Unpaid Principal Balance                                       $        86,631.05
Unpaid, Accrued Interest                                       $         5,067.04
Uncollected Late Charges                                       $             0.00
Mortgage Insurance Premiums                                    $             0.00
Taxes and Insurance Payments on behalf of Debtor               $             0.00
Advances                                                       $          6776.43
Less: Partial Payments                                         ($            0.00)
Minimum Outstanding Obligations                                $        91,698.09


       7.        The Debtor is in default with regard to payments which have become due

under the terms of the aforementioned note and Mortgage.

       As of December 8, 2017, the Debtor is due for:


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  Number of             From                   To               Monthly          Total Missed
    Missed                                                      Payment           Payments
  Payments                                                      Amount
      10           February 1, 2017      November 1, 2017    $944.08           $9,440.80
       1           December 1, 2017      December 1, 2017    $947.60           $947.60
Atty Fees and Costs:                                                           $1,031.00
                                                            Total Payments:    $11,419.40

       8.        The Movant has elected to initiate foreclosure proceedings on the

Property with respect to the subject Mortgage, but is prevented by the Automatic Stay

from going forward with these proceedings.

       9.        This Movant is informed and believes, and based upon such information

and belief, alleges that absent this Court's Order allowing this Movant to proceed with

the pending foreclosure, Movant's security will be significantly jeopardized and/or

destroyed.

       10.       CHARLES R. GOLDSTEIN, PROTIVITI INC., has been appointed by this

Court as the Chapter 7 Trustee in this instant Bankruptcy proceeding.

       11.       This Movant is informed and believes and, based upon such information

and belief, alleges that the Debtor has little or no equity in the property.

       WHEREFORE, Movant prays for an order granting relief from Automatic Stay,

and for such other relief as the Court deem proper.




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Dated: December 19, 2017
                                      SHAPIRO & BROWN, LLP
                                      Attorneys for Movant

                                      By: /s/ Renee Dyson
                                      William M. Savage, Esquire
                                      Federal I.D. Bar No. 06335
                                      Kristine D. Brown, Esquire
                                      Federal I.D. Bar No. 14961
                                      Thomas J. Gartner, Esquire
                                      Federal I.D. Bar No. 18808
                                      Gregory N. Britto, Esquire
                                      Federal I.D. Bar No. 22531
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                                      Federal I.D. Bar No. 20037
                                      Renee Dyson, Esquire
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                                    Certificate of Service

I hereby certify that on the 19th day of December, 2017 the following person(s) were
served a copy of above mentioned Motion for Order Granting Relief from Stay in the
manner described below:


Via CM/ECF Electronic Notice:


DAVID AUGUST BESTE, JR
Law Office of Cricket Browne, LLC                            Debtor's Attorney
117 East Main Street
Elkton, MD 21921

CHARLES R. GOLDSTEIN
PROTIVITI INC.                                               Trustee
1 EAST PRATT STREET
SUITE 800
BALTIMORE, MD 21202



Via First Class Mail, Postage Prepaid:


MARK GARY KOLSUN FDBA
MARKRISS ENTERPRISES, LLC FDBA
MARKRISS ENTERPRISES NJ, LLC                                 Debtor
108 Iroquois Drive
North East, MD 21901




                                                  /s/ Renee Dyson
                                                  Kristine D. Brown, Esquire
                                                  William M. Savage, Esquire
                                                  Thomas J. Gartner, Esquire
                                                  Gregory N. Britto, Esquire
                                                  Philip S. Shriver, Esquire
                                                  Renee Dyson, Esquire




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